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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

UNITED STATES OF AMERICA

v.                                                       No. 2:19-CR-093-D

DAVIN SETH WATERS

             MOTION FOR PRETRIAL DETENTION AND CONTINUANCE

        The United States asks for the pretrial detention of Defendant under Title 18,

United States Code, Sections 3142(e) and 3142(f).

        1.      Eligibility of Case. This case is eligible for a detention order under
                18 U.S.C. § 3142(f) because it is a case that involves:

                     A crime of violence as defined in 18 U.S.C. § 3156(a)(4). (18 U.S.C.
                     § 3142(f)(1)(A)).
                     An offense for which the maximum sentence is life imprisonment or
                     death. (18 U.S.C. § 3142(f)(1)(B)).
                     A controlled substance offense for which the maximum sentence is
                     10 years or more. (18 U.S.C. § 3142(f)(1)(C)).
                     A felony that was committed after the defendant had been convicted
                     of two or more prior federal offenses described in 18 U.S.C.
                     § 3142(f)(1)(A)-(C), or comparable state or local offenses. (18
                     U.S.C. § 3142(f)(1)(D)).
                   X A felony that involves a minor victim or failure to register as a sex
                     offender. (18 U.S.C § 3142(f)(1)(E)).
                     A felony that involves the possession or use of a firearm, destructive
                     device, or any other dangerous weapon. (18 U.S.C § 3142(f)(1)(E)).
                     A serious risk defendant will flee. (18 U.S.C. § 3142(f)(2)(A)).
                     A serious risk defendant will obstruct or attempt to obstruct justice,
                     or threaten, injure, or intimidate, or attempt to threaten, injure, or
                     intimidate a prospective witness or juror. (18 U.S.C. § 3142
                     (f)(2)(B)).




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        2.      Reason for Detention. The Court should detain defendant, under 18 U.S.C.
                § 3142(e), because no condition or combination of conditions will
                reasonably assure:

                   X    Defendant’s appearance as required.
                   X    Safety of any other person and the community.

        3.      Rebuttable Presumption. The United States will invoke the rebuttable
                presumption against defendant under 18 U.S.C. § 3142(e). The
                presumption applies because there is:

                     Probable cause to believe defendant committed 10 + year drug
                     offense or firearms offense under 18 U.S.C. § 924(c). (18 U.S.C.
                     § 3142(e)).
                     Previous conviction for “eligible” offense committed while on
                     pretrial bond. (18 U.S.C. § 3142(e)).
                     Probable cause to believe defendant committed a federal crime of
                     terrorism as defined by 18 U.S.C. §2332b(g)(5). (18 U.S.C.
                     § 3142(e)).
                   X Probable cause to believe defendant committed a qualifying offense
                     involving a minor victim. (18 U.S.C. § 3142(e)).

        4.      Time for Detention Hearing. The United States requests the Court conduct
                the detention hearing:

                        At first appearance.
                   X    After continuance of three days.
                        Moot at this time as defendant is in state custody. Hearing requested
                        if detention becomes a viable issue.




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        5.      Eligibility for 10-Day Temporary Detention: The court may temporarily
                detain the defendant to permit revocation of conditional release,
                deportation, or exclusion because:

        A.      i)        The defendant is, and was at the time the offense was committed:

                          on release pending trial for a felony under federal, state, or local
                          law;
                          on release pending imposition or execution of sentence, appeal of
                          sentence or conviction, or completion of sentence, for any offense
                          under federal, state, or local law;
                          on probation or parole for any offense under federal, state, or local
                          law; or

                ii)       The defendant is not a citizen of the United States or lawfully
                          admitted for permanent residence as defined at 8 U.S.C.
                          § 1101(a)(20);

        B.      And the defendant:

                        may flee; or
                        pose a danger to any other person or the community.



                                                Respectfully submitted,

                                                ERIN NEALY COX
                                                UNITED STATES ATTORNEY


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